
PER CURIAM.
This cause is before us on appeal from a summary denial of Appellant’s Florida Rule of Criminal Procedure 3.850 motion. The record before us does not support the trial court’s finding that Appellant’s motion was successive. Accordingly, we reverse and remand. On remand, should the trial court conclude that Appellant’s Ashley claim (see State v. Wilson, 658 So.2d 521 (Fla.1995)) is conclusively refuted by the record, it shall attach to its order denying relief those parts of the record upon which it relies. Otherwise, it shall hold a hearing.
REVERSED and REMANDED.
BOOTH, JOANOS and WEBSTER, JJ., CONCUR.
